     Case 2:19-cv-01973-JAK-PD Document 118 Filed 04/16/24 Page 1 of 3 Page ID #:792




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 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
       RAFAEL ARROYO,                                  No. 2:19-CV-1973-JAK (FFMx)
11
                   Plaintiff,
12                                                     JUDGMENT
       v.
13
       Nazih I. Semaan, in individual and              JS-6
14     representative capacity as trustee of The
       Nazih and Samira Semaan Family Trust;
15     Samira N. Semaan, in individual and
       representative capacity as trustee of The
16     Nazih and Samira Semaan Family Trust;
       Fuel For Less Inc., a California
17     Corporation; DINO #2, LLC, a California
       Limited Liability Company; and
18     Does 1-10,
19                 Defendants,
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     Case 2:19-cv-01973-JAK-PD Document 118 Filed 04/16/24 Page 2 of 3 Page ID #:793




 1          JUDGMENT IS HEREBY ENTERED as follows:
 2          1.     Defendants Nazih I. Semaan, Samira N. Semaan, and Fuel for Less, Inc.,
 3    are jointly liable under the Unruh Civil Rights Act for a total of $4,000.
 4          2.     Plaintiff shall be deemed the prevailing party in this action.
 5          3.     An injunction is granted as to the property located at or about 15757
 6    Paramount Boulevard, Paramount, California. Within 90 days of entry of this judgment,
 7    Defendant DINO #2 shall:
 8                 a.    To the extent not already completed, install a van accessible parking
 9                       space, including installation of all required signage. Specifically, this
10                       space shall not have any slopes that exceed the 2.08% maximum
11                       defined in the 2010 ADA Standards for Accessible Design
12                       (“ADASAD”);
13                 b.    Maintain at least 36” of clear width and depth on sales counters
14                       without being blocked by merchandise;
15                 c.    Maintain the restroom door and entrance doors to have opening and
16                       closing pressures not to exceed 5 lbs. of force;
17                 d.    Modify the closing speed of the restroom door to ensure it closes in
18                       no fewer than five seconds;
19                 e.    Modify the toilet area to ensure that there are 60 inches of clear floor
20                       space adjacent to the toilet to allow for transfer to the commode from
21                       a wheelchair;
22                 f.    Modify the toilet to place flush controls on the side of the toilet
23                       opposite the side wall;
24                 g.    Modify the grab bars to ensure full compliance with the location
25                       standards dictated by the ADASAD;
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     Case 2:19-cv-01973-JAK-PD Document 118 Filed 04/16/24 Page 3 of 3 Page ID #:794




 1                h.    Located the toilet seat covers within the reach ranges required by the
 2                      ADASAD and place them in such a way that there is appropriate
 3                      clear space to interact with them;
 4                i.    Locate the hand driers in such a way that they do not impede any of
 5                      the clear floor space required; and
 6                f.    Modify the sink to ensure appropriate knee and toe clearance as
 7                      defined by the ADASAD.
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10    IT IS SO ORDERED.
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12    Dated: April 16, 2024             ________________________
13                                      John A. Kronstadt
14                                      United States District Judge
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